          Case 1:19-vv-00635-UNJ Document 27 Filed 09/14/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-635V
                                        UNPUBLISHED


    PATRICIA SLUGO,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: August 11, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On April 30, 2019, Patricia Slugo filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (SIRVA). Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

        On August 3, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent’s position is that “[P]etitioner has satisfied the criteria set forth
in the Vaccine Injury Table (Table) and Qualifications and Aids to Interpretation (QAI);
[P]etitioner had no history of pain, inflammation or dysfunction in her left shoulder; her

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
        Case 1:19-vv-00635-UNJ Document 27 Filed 09/14/20 Page 2 of 2




pain and reduced range of motion occurred within 48 hours of receipt of an intramuscular
vaccination; her symptoms were limited to the shoulder in which the vaccine was
administered; and no other condition or abnormality was identified to explain her initial
symptoms.” Id. at 4. Respondent further agrees that the scope of damages to be awarded
is limited to Petitioner’s SIRVA and its related sequelae only. Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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